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UNITED STATES DISTRICT COURT 553 EY- -Z.':;__Dg
WES'I`ERN DISTRIC'I` OF TENNESSEE

Western Division US~M- ig PH hs |2
UNITED sTATEs oF AMERICA THOMAS M GOULD
C'%US D|STRICTOULDCUIBT
-vs- Case No. 2 cr (WS“EM:J

GEORGE ARDS

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment ofcounsel. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
‘ All purposes including trial and appeal

DONE and ORDERED in 167 North Main, Memphis, this 495 day of July, 2005.

(§%;WJ%L_

s. THoMAS`ANDERsoN
UNITED sTATEs MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Oft`lce

Assistant Federal Publie Defender
Intake

GEORGE ARDS

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 26 in
case 2:05-CR-20251 Was distributed by f`aX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

